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Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20158-Ml

ORLANDO DEMETRIUS PRIDE
KERRY ANDRE SHELTON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, AUGUS'I` 16, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham
in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167l North Main,
Memphis, TN. Pending this hearing, the defendants shall be held in custody by the United States
Marshal and produced for the hearing

Date: August 11, 2005 Cg//Z-

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in I 8 U.S.C. § 3142(£) are present. Subsection ( I) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judici al officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (8/85) Order of Temporary Detentior\

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UNITED SASTE DSTRIC COURT - WESRTE DISTRICT TENNESSEE

  
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20158 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

